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       EXHIBIT 1
REDACTED VERSION OF
      DOCUMENT
  FILED UNDER SEAL
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                 Ø×ÙØÔÇ ÝÑÒÚ×ÜÛÒÌ×ßÔ ó ßÌÌÑÎÒÛÇÍ ÛÇÛÍ ÑÒÔÇ

ï                    ËÒ×ÌÛÜ ÍÌßÌÛÍ Ü×ÍÌÎ×ÝÌ ÝÑËÎÌ
î                  ÒÑÎÌØÛÎÒ Ü×ÍÌÎ×ÝÌ ÑÚ ÝßÔ×ÚÑÎÒ×ß
í                         ÍßÒ ÚÎßÒÝ×ÍÝÑ Ü×Ê×Í×ÑÒ
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é              Ð´¿·²¬·ººô
è    ª-ò                                          Ò±ò íæïéó½ªóððçíçóÉØß
ç    ËÞÛÎ ÌÛÝØÒÑÔÑÙ×ÛÍô ×ÒÝòå
     ÑÌÌÑÓÑÌÌÑ ÔÔÝå ÑÌÌÑ ÌÎËÝÕ×ÒÙô
ïð   ×ÒÝòô
ïï             Ü»º»²¼¿²¬-ò
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ïí             Ø×ÙØÔÇ ÝÑÒÚ×ÜÛÒÌ×ßÔ ßÌÌÑÎÒÛÇÍù ÛÇÛÍ ÑÒÔÇ
ïì
ïë                Ê×ÜÛÑÌßÐÛÜ ÜÛÐÑÍ×Ì×ÑÒ ÑÚ ÎßÜË ÎßÜËÌß
ïê                       ÍßÒ ÚÎßÒÝ×ÍÝÑô ÝßÔ×ÚÑÎÒ×ß
ïé                        ÌØËÎÍÜßÇô ÖËÔÇ ïíô îðïé
ïè
ïç   ÎÛÐÑÎÌÛÜ ÞÇæ
îð   ßÒÜÎÛß Óò ×ÙÒßÝ×Ñô
îï   ÝÍÎô ÎÐÎô ÝÎÎô ÝÝÎÎô ÝÔÎ ¢
îî   ÝÍÎ Ô×ÝÛÒÍÛ ÒÑò çèíð
îí   ÖÑÞ ÒÑò îêëìêíð
îì
îë   ÐßÙÛÍ ï ó îðë

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                              Ê»®·¬»¨¬ Ô»¹¿´ Í±´«¬·±²-
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     Case 3:17-cv-00939-WHA Document 902-3 Filed 07/14/17 Page 3 of 5
                 Ø×ÙØÔÇ ÝÑÒÚ×ÜÛÒÌ×ßÔ ó ßÌÌÑÎÒÛÇÍ ÛÇÛÍ ÑÒÔÇ

ï    ¿´·¹²³»²¬ ¾±²¼·²¹ »¯«·°³»²¬ò                                     ïíæíè

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ì    ¹»¬¬·²¹ ¬¸» ½±²¬®¿½¬ ¬± ¾«·´¼ ¬¸·- -«¾-»¯«»²¬ ª»®-·±²            ïíæíè

ë    ±º ¬¸·- ¬±±´ò                                                    ïíæíè

ê             ß²¼ ¬¸»² ¬¸»®» ©¿- ¿ ½±³°¿²§ô ©¸±-» ²¿³» ×              ïíæíè

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ïî   -±®®§ò                                                           ïíæíè

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ïì       ß    × ¬¸·²µ óó × ¬¸·²µ ¬¸»-» ¿®» ¬¸» º±«®ò                  ïíæíè

ïë       Ï    Í«®»ò     Ì¸¿²µ §±«ò                                    ïíæíè

ïê            É¸»² §±« -¸¿®»¼ ¬¸·- ¼±½«³»²¬ô ±® ¿ º±®³ ±º             ïíæíè

ïé   ¬¸·- ¼±½«³»²¬ ©·¬¸ ±«¬-·¼» ª»²¼±®-ô ¼·¼ §±« ¼± -±                ïíæíè

ïè   «²¼»® ¿ ²±²¼·-½´±-«®» ¿¹®»»³»²¬á                                 ïíæíè

ïç       ß    Ç»-ò    É» ¸¿¼ ²±²¼·-½´±-«®» ¿¹®»»³»²¬- ©·¬¸            ïíæíè

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îï       Ï    Í± ©·¬¸                            ô ¿²¼                ïíæíè

îî                 ô ¬¸»®» ©»®» ²±²¼·-½´±-«®» ¿¹®»»³»²¬- ·²           ïíæíç

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îë   ¾»»²ô §»¿¸ò                                                      ïíæíç

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                 Ø×ÙØÔÇ ÝÑÒÚ×ÜÛÒÌ×ßÔ ó ßÌÌÑÎÒÛÇÍ ÛÇÛÍ ÑÒÔÇ

ï        Ï   É¸»² §±« -¿§ þ¬¸»®» ³«-¬ ¸¿ª» ¾»»²ôþ ©¸¿¬ ¼±                 ïíæíç

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ïì   ¹·ª»² ¬¸»³ ¬¸» ±«¬´·²» ®¿¬¸»® ¬¸¿² -°»½·º·½-ò             Ô·µ»ô      ïíæíç

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ïè   °®±°®·»¬¿®§ ·²º±®³¿¬·±² ±«¬-·¼» ±º É¿§³± «²´»-- ¬¸»®»                ïíæíç

ïç   ©¿- ¿ ²±²¼·-½´±-«®» ¿¹®»»³»²¬ ·² °´¿½»á                              ïíæíç

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îî   §±«® µ²±©´»¼¹»ô ¿²§±²» ¿¬ É¿§³± -¸¿®»¼ É¿§³±                         ïíæìð

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                 Ø×ÙØÔÇ ÝÑÒÚ×ÜÛÒÌ×ßÔ ó ßÌÌÑÎÒÛÇÍ ÛÇÛÍ ÑÒÔÇ

ï    ¼±²ù¬ µ²±© ±º ¿²§ -«½¸ óó -«½¸ »ª»²¬-ò                             ïíæìð

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ïî   º¿³·´·¿® ©·¬¸ ¬¸» ÍÊÒ ®»°±-·¬±®§á                                  ïíæìð

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